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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION

   DANCO, INC.,
          Plaintiff,
   v.                                                 Civil Action No.: 5:16-CV-00073-JRG-CMC

   FLUIDMASTER, INC.,
          Defendant.


        FLUIDMASTER’S CORRECTED JOINT CLAIM CONSTRUCTION CHART

          In accordance with the Fifth Amended Agreed Docket Control Order [Docket Entry #

   91] and P.R. 4-5(d) the Fluidmaster hereby submits its Joint Claim Chart for asserted U.S.

   Patent Nos. 8.943,620 (“the ‘620 Patent”) and 9.181,687 (“the ‘687 Patent”). Danco previously

   filed the Joint Claim Construction Chart without waiting for Fluidmaster's revisions. D.E. 94.

   The document filed by Danco contained numerous errors, and the parties agreed to file an

   amended joint chart that corrected the errors and noted each side's objections. This filing

   represents the last version approved by Danco, although it still contains errors that Fluidmaster

   pointed out to Danco but got no response before the filing deadline. Specifically, Fluidmaster

   contends that many of Danco’s objections based on Fluidmaster’s 4-2 disclosures are not

   properly founded. Nonetheless, such objections are included to the benefit of Danco.

          Attached hereto as Exhibit A is a chart of the claim terms and phrases proposed for

   construction by Defendant Fluidmaster, Inc. and on which the parties agree. Attached hereto as

   Exhibit B is a chart of the claim terms and phrases proposed for construction by both parties

   and on which the parties disagree. Attached hereto as Exhibit C is a chart of the claim terms

   and phrases proposed for construction by Defendant Fluidmaster, Inc. and on which the parties
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   disagree. Attached hereto as Exhibit D is a chart listing the complete language of disputed

   claims with disputed claim terms and phrases in bold type.

          Danco objects to Fluidmaster’s indefiniteness contentions in Exhibits B and C for the

   following terms or phrases, which contentions were not timely disclosed in Fluidmaster’s

   March 28, 2017 P.R. 3-3 Invalidity Contentions:

          ‘620 Patent

              1. “detachably attached”

              2. “rotatably coupled”

          ‘687 Patent

              1. “adapter”

              2. “second end”

          Danco further objects to Fluidmaster’s indefiniteness contentions in Exhibits B and C

  for the following terms or phrases, which contentions were neither timely disclosed in

  Fluidmaster’s March 28, 2017 P.R. Invalidity Contentions nor disclosed in Fluidmaster’s May

  19, 2017 P.R. 4-2 “Preliminary Claim Constructions and Extrinsic Evidence” disclosure:

              1. “adaptor”

              2. “flush opening”

              3. “a flush opening configured to mate to a basket structure of a dual flush canister

                  for a toilet”;

              4. “first end”

              5. “the first end being configured to couple to a dual flush canister";

              6. “tab(s)”

              7. “tabs extending inward”
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              8. "the plurality of tabs being configured to engage a lip of a flush opening of a

                   flush valve previously installed in the toilet";

              9. “adaptor flush opening of a flush valve adaptor”;

              10. “circular support structure”; and

              11. "a circular support structure configured to align the dual flush canister with the

                   dual flush opening."

          Fluidmaster objects to the following alternative constructions in Exhibits B and C

   offered by Danco, as they were not included in Danco’s Exchange of Preliminary Claim

   Constructions and Extrinsic Evidence under P.R. 4-2, or the parties’ Joint Claim Construction

   and Prehearing Statement under P.R. 4-3.:

          ‘620 Patent

              1. “Gasket”: “a rubber ring, for placing around a joint to make it watertight.”

              2.   “Adaptor”: “a connector for joining parts.”

              3.   “Rotatably Coupled”: “joined to allow rotation”

              4. “Actuator”: “mechanism to start a process”

          ‘687 Patent

              1. “Adapter”: “a connector for joining parts.”

              2. “Basket structure”: “basket-shaped structure”

              3. “Second End”: “the latter of two extremities.”


          Respectfully submitted, this 14th day of August, 2017, by:


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                                  EXHIBIT A – JOINT CLAIM CONSTRUCTION CHART

    TERMS/PHRASES PROPOSED FOR CONSRUCTION BY FLUIDMASTER UPON WHICH THE PARTIES AGREE

                                                  U.S. Patent No. 8,943,620
                                                                 Danco’s      Fluidmaster’s
   Claim term, phrase or clause           Claim(s)              Proposed        Proposed      Court’s Construction
                                                              Construction    Construction
       “flush mechanism”                 1, 2, 4, 11           [AGREED]        [AGREED]         Plain meaning.
  “predefined flush capability”              1, 2              [AGREED]        [AGREED]         Plain meaning.
            “between”                       1, 21              [AGREED]        [AGREED]         Plain meaning.
          “flush orifice”                 1, 20, 21            [AGREED]        [AGREED]         Plain meaning.
        “sealing member”                    1, 21              [AGREED]        [AGREED]         Plain meaning.
     “seat a sealing member”                   1               [AGREED]        [AGREED]         Plain meaning.
“in contact with the flush orifice”           21               [AGREED]        [AGREED]         Plain meaning.


                                                U.S. Patent No. 9.181,687
                                                               Danco’s        Fluidmaster’s
   Claim term, phrase or clause          Claim(s)             Proposed          Proposed      Court’s Construction
                                                            Construction      Construction
      “flush valve opening”                  14              [AGREED]          [AGREED]         Plain meaning.
        “sealing material”                14, 15             [AGREED]          [AGREED]         Plain meaning.
               “lip”                       4, 14             [AGREED]          [AGREED]         Plain meaning.
          “engage a lip”                      4              [AGREED]          [AGREED]         Plain meaning.
          “support legs”                 4, 14, 20           [AGREED]          [AGREED]         Plain meaning.
          “mating ears”                    7, 17             [AGREED]          [AGREED]         Plain meaning.
        “annular groove”                   7, 17             [AGREED]          [AGREED]         Plain meaning
      “extending between”                4, 14, 20           [AGREED]          [AGREED]         Plain meaning
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                                 EXHIBIT B – JOINT CLAIM CONSTRUCTION CHART

TERMS/PHRASES FOR WHICH BOTH PARTIES SEEK CONSRUCTION AND UPON WHICH THE PARTIES DISAGREE

                                   U.S. Patent No. 8,943,620 and U.S. Patent No. 9,181,687
                                                        Danco’s Proposed      Fluidmaster’s Proposed
Claim term, phrase or clause         Claims                                                                      Court’s Construction
                                                          Construction             Construction
                                                                             Indefinite.

                                                                                     Or , if construed,
                                    ‘620 Patent
                                                                                     “designed for direct
  “detachably attached”                1, 4              “removably retained”
                                                                                     separation and direct
                                                                                     reattachment without
                                                                                     degradation (referring
                                                                                     to gasket)”

                                    ‘620 Patent                                      “valve which uses a
                                                         “a valve located at the
                                       1, 21                                         sealing member to
                                                         bottom of a toilet tank
                                                                                     ensure water does not
      “flush valve”                                      used to discharge water
                                                                                     leak into the toilet bowl
                                                         from the toilet tank to a
                                    ‘687 Patent                                      until a flush is
                                                         toilet bowl”
                                       4, 14                                         initiated”

                                    ‘620 Patent
                                   11, 12, 21, 22                                    “a dual flush
                                                         “cylindrical-shaped
                                                                                     mechanism having at
   “dual flush canister”                                 device providing for
                                                                                     least a partially
                                     ‘687 Patent         two flush volumes”
                                                                                     cylindrical shape”
                               4, 7, 9, 14, 17, 19, 20
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                                  EXHIBIT C – JOINT CLAIM CONSTRUCTION CHART

TERMS/PHRASES FOR WHICH FLUIDMASTER SEEKS CONSRUCTION AND UPON WHICH THE PARTIES DISAGREE

                                                      U.S. Patent No. 8,943,620
  Claim term,                                                               Fluidmaster’s Proposed
                   Claims         Danco’s Proposed Construction                                          Court’s Construction
phrase or clause                                                                 Construction
                              Needs no construction; plain meaning. “a non-adhesive object that
                                                                        creates a fluid seal which is
“gasket”           1, 4, 21
                              (“a rubber ring, for placing around a     maintained by compressive
                              joint to make it watertight”)             resilience”
                                                                        Indefinite.

                                                                        Or , if construed: “any of
                                                                        various devices used in
                              Needs no construction; plain and
                                                                        adjusting or fitting to each
                   4, 11,     ordinary meaning.
“adaptor"                                                               other the separate parts of a
                   12, 21
                                                                        machine or apparatus whose
                              (“a connector for joining parts”)
                                                                        design is such that adjustment
                                                                        or fitting would otherwise not
                                                                        be possible (as two pipes of
                                                                        different diameters)”
                                                                        Indefinite.
                              Needs no construction; plain meaning.
“rotatably
                     12
coupled”                                                                Or , if construed: “coupled
                              (“joined to allow rotation”)
                                                                        through rotation”
                              Not indefinite.                           Indefinite.

“actuator”           22       Needs no construction; plain meaning.     Or, if construed: “part or
                                                                        assembly which causes
                              (“mechanism to start a process”)          movement”
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                                             U.S. Patent No. 9,181,687
Claim term, phrase                    Danco’s Proposed            Fluidmaster’s Proposed
                       Claims                                                                    Court’s Construction
    or clause                           Construction                    Construction
                                                               Indefinite.

                                                               Or , if construed: “any of
                                Needs no construction; plain   various devices used in
                                meaning.                       adjusting or fitting to each
“adapter”
                        14                                     other the separate parts of a
                                (“a connector for joining      machine or apparatus whose
                                parts”)                        design is such that adjustment
                                                               or fitting would otherwise not
                                                               be possible (as two pipers of
                                                               different diameters)”
                                Needs no construction; plain
“flush opening”          4                                     Orifice of a flush valve.
                                meaning.
“flush opening”,
                                                               Governed by 35 U.S.C. § 112,
see:
                                                               ¶ 6 and limited to structure or
                                                               its equivalents, identified
“a flush opening
                                                               below.
configured to mate
                                Not a “means-plus-function”
to a basket
                                claim.                         Function: mate to a basket
structure of a dual
                        14                                     structure of a dual flush
flush canister for a
                                Needs no construction; plain   canister for a toilet
toilet” (claim 1)
                                meaning.
 / “adapter flush
                                                               Structure: “upper flange and
opening of a flush
                                                               ear structure of adapter
valve adapter”
                                                               fittings 603, 604 via gasket
(claim 14) / “flush
                                                               606”
opening” (claim 16)
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                                       Needs no construction; plain
“flush opening”             20                                        Indefinite.
                                       meaning.
                                                                      “a spacer having two parallel
                                       Needs no construction; plain
                                                                      rings vertically separated by
“basket structure”     4, 9, 13, 14,   meaning.
                                                                      connecting members, the
                          19, 20
                                                                      lower ring having a horizontal
                                       (“basket-shaped structure”)
                                                                      orientation (e.g., a floor)”
                                                                      Governed by 35 U.S.C. § 112,
                                                                      ¶ 6 and limited to structure or
                                                                      its equivalents, identified
“first end”, see:                                                     below.
                                       Not a “means-plus-function”
“the first end being                   claim.
                       4, 7, 14, 17,                                  Function: couple to a dual
configured to
                             20                                       flush canister
couple to a dual                       Needs no construction; plain
flush canister”                        meaning.
(claims 4, 14, 20)                                                    Structure: “top ring of adapter
                                                                      133 having internal slots 233
                                                                      and internal annular groove
                                                                      236”
                                                                      Indefinite.
                                       Needs no construction; plain
                                       meaning.
                                                                      Or , if construed, “the lower
“second end”           4, 13, 14, 20
                                                                      ring having a horizontal
                                       (“the latter of two
                                                                      orientation (e.g., floor) of the
                                       extremities”)
                                                                      basket structure”
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“tabs”, see:
                                                                 Governed by 35 U.S.C. § 112,
                                                                 ¶ 6 and limited to structure or
“tabs extending
                                                                 its equivalents, identified
inward” (claim 4,
                                                                 below.
14) / “the plurality              Not a “means-plus-function”
of tabs being                     claim.                         Function: engage a lip of a
configured to            4, 14
                                                                 flush opening of a flush valve
engage a lip of a                 Needs no construction; plain   previously installed in the
flush opening of a                meaning.
                                                                 toilet.
flush valve
previously installed
                                                                 Structure: “tabs of the
in the toilet” (claim
                                                                 clamping arms 913/933”
4)
                                                                 Governed by 35 U.S.C. § 112,
                                                                 ¶ 6, but inadequate
                                                                 corresponding structure
                                                                 disclosed, so Indefinite.
“circular support
structure”, see:
                                                                 Or, if construed pursuant to
                                  Not a “means-plus-function”
                                                                 35 U.S.C. § 112, ¶ 6, limited
“a circular support               claim.
                                                                 to structure or its equivalents,
structure                20, 21
                                                                 identified below.
configured to align               Needs no construction; plain
the dual                          meaning.                       Function: Align the dual flush
flush canister”                                                  canister with the flush
(claim 20)                                                       opening

                                                                 Structure: “clamp 136, or
                                                                 sleeve adapter 180”
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                                   EXHIBIT D – JOINT CLAIM CONSTRUCTION CHART

                                       COMPLETE LANGUAGE OF DISPUTED CLAIMS

                                                     U.S. Patent No. 8,943,620
Claim                              Complete Language of Disputed Claims With Disputed Terms in Bold
  1     An apparatus, comprising:
       a flush mechanism configured to provide for a predefined flush capability in a toilet; and
       a gasket detachably attached to the flush mechanism, the gasket forming a seal between the flush mechanism and a flush
         orifice of a flush valve, the seal being maintained during a full flush of the toilet by the flush mechanism, where the flush
         valve is configured to seat a sealing member.
  4     The apparatus of claim 2, wherein the dual flush mechanism further comprises an adaptor configured to detachably
       attach to the dual flush mechanism, where the gasket is attached to the adaptor.
 11     The apparatus of claim 4, wherein the dual flush mechanism further comprises a dual flush canister coupled to the
      adaptor.
 12     The apparatus of claim 11, wherein the dual flush canister is rotatably coupled to the adaptor.
 14      The apparatus of claim 13, wherein the gasket includes a pseudo I-beam structure extending around at least a portion of
       an edge of the second opening.
 21     A method, comprising the steps of:
       removing a sealing member from a flush valve in a toilet, the flush valve including a flush orifice that is sealed by the
         sealing member;
       positioning an adaptor having a gasket over the flush orifice of the flush valve so that the gasket comes into contact with
         the flush orifice, thereby creating a seal between the adaptor and the flush orifice; and
       attaching a dual flush canister to the adaptor with the gasket in contact with the flush orifice, the dual flush canister
         providing for a dual flush capability.
 22     The method of claim 21, further comprising the step of installing an actuator that triggers an operation of the dual flush
       canister.
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                                                      U.S. Patent No. 9,181,687
Claim                                Complete Language of Disputed Claims With Disputed Terms in Bold
  4      An apparatus, comprising:
        a basket structure having a first end and a second end, the first end being configured to couple to a dual flush canister
          for a toilet, the dual flush canister being configured to provide both a short flush and a long flush of the toilet;
        a plurality of tabs extending inward toward a center axis of the basket structure, the plurality of tabs being configured to
          engage a lip of a flush opening of a flush valve previously installed in the toilet; and
        a plurality of support legs extending between the first end and the second end defining a plurality of passageways from an
          exterior of the basket structure to the flush opening.
 7       The apparatus of claim 4, wherein the first end is coupled to the dual flush canister via a plurality of mating ears fitting
        within an annular groove.
  9      The apparatus of claim 4, wherein the dual flush canister can be rotated with respect to the basket structure.
 13      The apparatus of claim 4, wherein the plurality of tabs are positioned at the second end of the basket structure.
 14      An apparatus, comprising:
        a dual flush canister configured to provide both a short flush and a long flush of a toilet;
         a basket structure having a first end and a second end, the first end being configured to couple to the dual flush
          canister;
        a plurality of tabs extending inward toward a center axis of the basket structure, the plurality of tabs engaging a lip of an
          adapter flush opening of a flush valve adapter;
        a plurality of support legs extending between the first end and the second end defining a plurality of passageways from an
          exterior of the basket structure to the adapter flush opening; and
        the flush valve adapter further comprising:
            a flange configured to mate to a flush valve opening of a previously installed flush valve in the toilet, the flange being
             offset at an angle with respect to the adapter flush opening; and
            a sealing material forming a seal between the flange and the flush valve opening.
 17      The apparatus of claim 14, wherein the first end is coupled to the dual flush canister via a plurality of mating ears fitting
        within an annular groove.
 19      The apparatus of claim 14, wherein the dual flush canister can be rotated with respect to the basket structure.
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20    An apparatus, comprising:
     a dual flush canister configured to provide both a short flush and a long flush of a toilet;
     a basket structure having a first end and a second end, the first end being configured to couple to the dual flush canister;
     a plurality of support legs extending between the first end and the second end defining a plurality of passageways from an
       exterior of the basket structure to a flush opening; and
     a circular support structure configured to align the dual flush canister with the flush opening, the circular support
       structure having an inner diameter greater than an outer diameter of a toilet overflow tube.
21    The apparatus of claim 20, wherein the circular support structure is mounted on the toilet overflow tube.
